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                            UNITED STATES DISTRICT COURT
                            FOR TⅡ E DISTRICT OF COLUⅣ IBIA

                                    Holding a Criminal Term

                             Grand Jury Sworn in on July 9,2018

UNITED STATES OF AMERICA                             CRIⅣIINAL NO.

              v.                                     ⅣIAGISTRATE     NO。    19-Ⅳ IJ-105


BRANDON LEE,                                         VIOLAT10N:
also known as Branden Lee,                           18 UoSoC.§ 922(g)(1)
                                                     (UnlaWfuI Possession of a Firearm and
                       Defendant.                    AnlIIlunition by a Person Convicted of a
                                                     Crilne Punishable by lmprisonment for a
                                                     Term Exceeding One Yea⇒

                                                     FORFEITURE:18 UoS.C.§         924(d),
                                                     21 UoSoC.§ 853(p)and 28 UoS.C.§ 2461(c)

                                      INDI CTMENT

       The Grand Jury charges that:

                                            COUNT ONE

       On or about   April2l ,2llg,within   the District of Columbia, BRANDON LEE, also known

as Branden Lee, having been convicted        of a crime   punishable by imprisonment for a term

exceeding one year, in the Superior Court for the District of Columbia, Criminal Case No. 2007-

CF3-020853, did unlawfully and knowingly receive and possess a firearm, namely, a Smith and

Wesson 9mm semi-automatic handgun, and did unla'*fully and knowingly receive 9mm

ammunition, which had been possessed, shipped and transported in and affecting interstate and

foreign commerce.

       (Unlawful Possession of a Firearm and Ammunition by a Person Convicted of a Crime
       Punishable by Imprisonment for a Term Exceeding One Year, in violation of Title 18,
       United States Code, Section 922(g)(l))
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                                  FORFEITURE ALLEGATION

        l.       Upon conviction of the offense alleged in Count One this Indictment, the defendant

shall forfeit to the United States, pursuant to Title 18, United States Code, Section 924(d) and Title

28, United States Code, Section 2461(c), any firearms and ammunition involved in or used in the

knowing commission of the offense, including but not limited to a Smith and Wesson 9mm semi-

automatic handgun and 9mm ammunition.

       2.        If any of the property described above as being subject to forfeiture,     as a result   of

any act or omission of the defendant:

       (a)       cannot be located upon the exercise ofdue diligence;

       (b)       has been transferred or sold to, or deposited   with,   a   third party;

       (c)       has been placed beyond the   jurisdiction of the Court;

       (d)       has been substantially diminished in value; or

       (e)       has been commingled with other property that cannot be subdivided without

                 difficulty;

the defendant shall forfeit to the United States any other property of the defendant, up to the value

of the property described above, pursuant to Title 21, United States Code, Section 853(p),                as


incorporated by Title 28, United States Code, Section 2461(c).

       (Criminal Forfeiture, pursuant to Title 18, United States Code, Section 924(d), Title 21,
       United States Code, Section 853(p), and Title 28, United States Code, Section 2a61@))

                                                A TRUE BILL:


                                                FOMPERSON.
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Attorney of the United States in
and for the District of Columbia.

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